Case 2:16-cv-00841-SPC-MRM Document1 Filed 11/21/16 Page 1 of 8 PagelD 1

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FILED)

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
MIAMI DIVISION 16 NUV20 AM |: 08

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ALEXIS SOTO FERNANDEZ, GENERAL JURISDICTION DIVISION
Plaintiff CASE NO. Ue-Cu- §' A FLAG hey

VS.

TREES, INC. d/b/a

TREES ACQUISITION, INC.,

Defendant.
/

PLAINTIFF'S COMPLAINT AND DEMAND FOR TRIAL BY JURY
COMES NOW, ALEXIS SOTO FERNANDEZ (hereinafter "FERNANDEZ”), the
Plaintiff in the above styled case, and files this complaint against the Defendant, TREES,
INC. d/b/a TREES ACQUISITION, INC.. (hereinafter “TREES, INC.%). a for Profit
Corporation in the State of Florida, and in support alleges the following:
1) This is an action for damages in excess of $15,000.00.
2) This is action based upon violation of Title VII of the Civil Rights Act of 1964, as amended,
42 U.S.C. § 2000e-2, et seq. and the Florida Civil Rights Act, Fla. Stat. $$ 760.10.
3) Plaintiff, FERNANDEZ is over the age of 18 and resides in Miami-Dade County, Florida.
4) Defendant, TREES, INC., is a Delaware Corporation engaging in business in the State of
Florida.

At all times relevant to this civil action, Defendant TREES, INC. maintained a place of

a
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business in Lee County where the events alleged in this complaint took place.
Case 2:16-cv-00841-SPC-MRM Document1 Filed 11/21/16 Page 2 of 8 PagelD 2

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6) At all relevant times to this civil action, Defendant, TREES, INC., employed in excess of
fifteen employees and was an employer within the meaning of Title VII of the Civil Rights
Act or 1964, as amended, 42 U.S.C. § 2000e, et seq. and the Florida Civil Rights Act, Fl
a. Stat. § 760.10.

7) FERNANDEZ, a male from Cuba, was at all relevant times to this civil action
employed by the Defendant, TREES, INC.

ADMINISTRATIVE PRE-REQUISITES

8) FERNANDEZ has complied with all the administrative pre-requisites necessary to maintain
a civil action under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e,
et seq., and the Florida Civil Rights Act, Fla. Stat. §§ 760.01-760.1, as follows:

a. On or about September 18, 2016, FERNANDEZ timely filed a formal charge with the
Equal Employment Opportunities Commission (“EEOC”) and also cross-filed with
the Florida Commission on Human Rights (*“FCHR”).

b. On September 21, 2016, the EEOC issued a Dismissal and Notice of Right to Sue.

c. FERNANDEZ exhausted all available administrative remedies in accord with Title
VIL of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000c, et seq. and the
Florida Civil Rights Act, Fla. Stat. $§ 760.01-760.1.

COMMON FACTUAL ALLEGATIONS

9) From July, 2015 through September, 2016, FERNANDEZ was employed by Defendant
TREES, INC.

10) Plaintiff was at all times capable, qualified, and willing to perform the functions of his
position.

11) During his time of employment, FERNANDEZ’ supervisor was Adam Soto.
Case 2:16-cv-00841-SPC-MRM Document1 Filed 11/21/16. Page 3 of 8 PagelD 3

12) Between July 2016 through September 2016, Adam Soto would continuously call him and
other Cuban workers “shitty Cubans” and “fucking Cubans.”

13) Between July 2016 through September 2016, FERNANDEZ was subjected to derogatory
comments regarding his national origin.

14) FERNANDEZ complained to Adam Soto that he was disrespecting and discriminating
against him and the other Cuban employees.

15) After voicing his complaint, Adam Soto began singling out and harassing FERNANDEZ—
Adam Soto reduced FERNANDEZ’ schedule, took away his overtime, and treated him with
the utmost disrespect.

16) Adam Soto fired another Cuban employee and stated that the company had a new policy of
not hiring Cubans.

17) The harassment FERNANDEZ continued up until September 2016 when FERNANDEZ was
told not to return to work.

COUNT I: DISCRIMINATION DUE TO NATIONAL ORIGIN IN
VIOLATION OF TITLE VII

18) FERNANDEZ readopts and realleges all the allegations contained in the preceding
paragraphs as if fully set forth herein.

19) FERNANDEZ’ country of national origin is a recognized protected class under the Title VII
of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq.

20) FERNANDEZ is a Cuban male and at all times relevant to this civil action was considered as
a protected class under Title VII of the Civil Rights Act of 1964.

21) At all times relevant to this civil action, TREES, INC. and/or its agents were aware that

FERNANDEZ was Cuban.
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Case 2:16-cv-00841-SPC-MRM Document1 Filed 11/21/16 Page 4 of 8 PagelD 4

22) FERNANDEZ’ adverse and disparate treatment, including, but not limited to his termination,

was directly due to FERNANDEZ’ national origin in violation of Title VII of the Civil

Rights Act of 1964.

23) Other similarly situated non-Cubans employees were not subjected to the same adverse

treatment experienced by FERNANDEZ.

24) A direct and causal link between FERNANDEZ’ country of national origin and his adverse

and disparate treatment exist through direct and circumstantial evidence of discrimination

including, but not limited to:

a)

b)

c)

d)

e)

Between July 2016 through September 2016, Adam Soto would continuously call him
and other Cuban workers “shitty Cubans™ and “fucking Cubans.”

FERNANDEZ complained to Adam Soto that he was disrespecting and discriminating
against him and the other Cuban employees.

After voicing his complaint, Adam Soto began singling out and_ harassing
FERNANDEZ—Adam Soto reduced FERNANDEZ’ schedule. took away his overtime,
and treated him with the utmost disrespect.

Adam Soto fired another Cuban employee and stated that the company had a new policy
of not hiring Cubans.

FERNANDEZ’ termination directly following the events described of this complaint.

25) TREES, INC. alleged basis for its disparate treatment of FERNANDEZ, including, but not

limited to, FERNANDEZ’ termination, are pretexual and asserted only to cover up the

discriminatory reasons for its conduct.

26) Even if TREES, INC. could assert a legitimate non-discriminatory reason for its disparate

treatment of FERNANDEZ, FERNANDEZ’ country of national origin was also a motivating
Case 2:16-cv-00841-SPC-MRM Document1 Filed 11/21/16 Page 5 of 8 PagelD 5

factor.

27) As a direct and proximate cause of discriminatory conduct that FERNANDEZ was subjected
to by TREES, INC., FERNANDEZ has and will continue to experience financial and
economic loss in the form of lost wages and lost benefits.

28) FERNANDEZ has also experienced and will continue to experience mental and emotional
anguish, pain and suffering, and loss of dignity.

29) TREES, INC. and/or its agents intentionally and/or with reckless indifference, engaged in the
above stated discriminatory practices against FERNANDEZ.

30) The intentional and discriminatory conduct by TREES, INC. complained of herein was
willful, wanton, deliberate, malicious, egregious and outrageous warranting the imposition of
punitive/exemplary damages in addition to compensatory damages and other remedies
available under Title VI of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et.
seq.

COUNT II: DISCRIMINATION DUE TO NATIONAL ORIGIN IN
VIOLATION OF THE FLORIDA CIVIL RIGHTS ACT

31) FERNANDEZ readopts and realleges all the allegations containcd in the preceding
paragraphs as if fully set forth herein.

32) FERNANDEZ’ country of national origin is a recognized protected class under the Florida
Civil Rights Act, Fla. Stat. $§ 760.01-760.1.

33) At all times relevant to this civil action, TREES, INC. and/or its agents were aware that
FERNANDEZ was Cuban.

34) FERNANDEZ’ adverse and disparate treatment, including, but not limited to his termination,

was because of FERNANDEZ’ national origin in violation of Title VH of the Civil Rights
Case 2:16-cv-00841-SPC-MRM Document1 Filed 11/21/16 Page 6 of 8 PagelID 6

Act of 1964.

35) Other similarly situated non-Cubans employees were not subjected to the same adverse

treatment experienced by FERNANDEZ.

36) FERNANDEZ was subjected to adverse and disparate treatment by TREES, INC. based upon

his country of national origin in violation of the Florida Civil Rights Act, Fla. Stat. $§

760.01-760.1 in the following manner:

a)

b)

d)

e)

Between July 2016 through September 2016, Adam Soto would continuously call him
and other Cuban workers “shitty Cubans” and “tucking Cubans.”

FERNANDEZ complained to Adam Soto that he was disrespecting and discriminating
against him and the other Cuban employees.

After voicing his complaint, Adam Soto began singling out and _ harassing
FERNANDEZ—Adam Soto reduced FERNANDEZ’ schedule, took away his overtime,
and treated him with the utmost disrespect.

Adam Soto fired another Cuban employee and stated that the company had a new policy
of not hiring Cubans.

FERNANDEZ’ termination directly following the events described of this complaint.

37) TREES, INC. alleged basis for its disparate treatment of FERNANDEZ, including, but not

limited to, FERNANDEZ’ termination, are pretexual and asserted only to cover up the

discriminatory reasons for its conduct.

38) Even if TREES, INC. could assert a legitimate non-discriminatory reason for its disparate

treatment of FERNANDEZ, FERNANDEZ’ country of national origin was also a motivating

factor.

39) As a direct and proximate cause of discriminatory conduct that FERNANDEZ was subjected
Case 2:16-cv-00841-SPC-MRM Document1 Filed 11/21/16 Page 7 of 8 PagelID 7

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to by TREES, INC., FERNANDEZ has and will continue to experience financial and
economic loss in the form of lost wages and lost benefits.

40) FERNANDEZ has also experienced and will continue to experience mental and emotional
anguish, pain and suffering, and loss of dignity.

41) TREES, INC. and/or its agents intentionally and/or with reckless indifference, engaged in the
above stated discriminatory practices against FERNANDEZ.

42) Other similarly situated non-Cubans employees were not subjected to the same adverse
treatment experienced by FERNANDEZ.

43) As a direct and proximate cause of TREES, INC. adverse and disparate treatment of his on
the basis of his national origin, FERNANDEZ incurred economic and non-economic
damages, suffered loss of wages, and incurred other damages.

44) The intentional and discriminatory conduct by TREES, INC. complained of herein was
willful, wanton, deliberate, malicious, egregious and outrageous warranting the imposition of
punitive/exemplary damages in addition to compensatory damages and other remedies
available under the Florida Civil Rights Act, Fla. Stat. $§ 760.01-760.1.

WHEREFORE, Plaintiff prays for the following relief:

1. A declaratory judgment holding that Defendant TREES, INC. has violated
FERNANDEZ’ right to be free from discrimination in the workplace as recognized
by Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000¢, et. seq.
and the Florida Civil Rights Act, Fla. Stat. §$§ 760.01-760.1 and 509.092.

2. Back pay, past benefits, front pay and lost wages as this Court may deem fit and

just;

3. Compensatory damages in an amount to be determined at trial for past and future
Case 2:16-cv-00841-SPC-MRM Document1 Filed 11/21/16 Page 8 of 8 PagelD 8

economic and non-economic losses, including extreme emotional distress and mental

anguish, impairment of quality of life, and consequential loses;

4. Exemplary and/or punitive damages In an amount to determined at trial;

5. Reasonable attorney's fees and costs as provided by Title VII of the Civil Rights Act

of 1964, as amended, 42 U.S.C. § 2000e, et seq.. and/or the Florida Civil Rights Act,

Fla. Stat. $$ 760.01-760.1; and

6. Any other such further relief as this Court deems just and appropriate.

JURY DEMAND

Plaintiff demands a trial by jury for all triable issues.

Respectfully submitted,

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